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                                 Exhibit D
    Case 2:21-cv-06588-RGK-MAR Document 36-6 Filed 12/23/21 Page 2 of 3 Page ID #:399
RICHARD KAPLAN                                                                          kaplan@kaplanmarino.com
NINA MARINO*                                                                           marino@kaplanmarino.com
JENNIFER A. LIESER                                                                       lieser@kaplanmarino.com
CODY ELLIOTT                                                                             elliott@kaplanmarino.com
ALLEN G. WEINBERG, Of Counsel                     kaplanmarino.com                    weinberg@kaplanmarino.com

                                                   June 14, 2021

        Via Email and FedEx

        Special Agent Lynne Zellhart
        Federal Bureau of Investigation
        11000 Wilshire Blvd #1700
        Los Angeles, CA 90024
        lkzellhart@fbi.gov

                 Re: DONALD LEO MELLEIN, BOX #224

        Dear Special Agent Zellhart:

                Today, June 14, 2021, at 3:00 p.m., Cody Elliott and I met with you at the above location
        for the return of Donald Leo Mellein’s property from Box #224. We were provided with
        identifying and loose documents, and one gold bar. We were not provided with the
        approximately 120 gold coins that our client also had stored in Box #224.

               Neither the contents of Box #224 as opened in front of us nor the Inventory Log you
        provided reflect those 120 gold coins. The Inventory Log should be amended as attached here
        and should supersede the one executed this afternoon, June 14, 2021.

               We request that you immediately provide us with a copy of the video footage captured by
        the FBI when Box #224 was inventoried on March 22, 2021.

                 We appreciate your prompt attention to this matter. Please respond in writing.

                                                      Sincerely,

                                                      KAPLAN MARINO, PC

                                                              /s/

                                                      JENNIFER LIESER

        cc: Andrew Brown, AUSA
            andrew.brown@usdoj.gov


        Encl.
9454 Wilshire Blvd., Suite 902                   T 310.557.0007                     *Certified Specialist Criminal Law
Beverly Hills, CA 90212                          F 310.861.1776                      CA Board of Legal Specialization
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FD-597 (Rev 8-11-94)                                                                                                           Page -�(__of ____,_/_


                                            UNITED STATES DEPARTMENT OF JUSTICE
                                              FEDERAL BUREAU OF INVESTIGATION
                                        Receipt for Property Received/Returned/Released/Seized

   File#



                                   /., / /1/2 !i 2                                                                             item(s) listed below were:
         On (date)
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   (City) _____________________________________



   Description of Item(s):
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     The contents of Box 224 as retrieved from the FBI on June 14,
     2021 at 3:00p.m. are missing approximately 120 (one hundred
     twenty) gold coins.




   Received By:                                                               Received From:
                                            (Signature)
